Case 2:14-cv-11916-GCS-SDD ECF No. 76-3, PagelD.2431 Filed 03/24/16 Page 1 of 4

EXHIBIT B
Case 2:14-cv-11916-GCS-SDD ECF No. 76-3, PagelD.2432 Filed 03/24/16 Page 2 of 4

wii Pathology & Laboratory Medicine

Title: PER-HFL-2.56-pol: HEML EMPLOYEES POLICIES AND GUIDELINES

I, Principle or Purpose:

This Poticy addresses requirements that apply to all HFML Lab Assistants ensuring that they have read-and
understand the guidelines required to maintain high working standards and ensure continuity in our Standards of

Excellence,

ii. Scope:
This policy is effective for all HFML Lab Assistants.

TIL Policy:
Each Lab Assistant, regular full-time, part time, or temporary will read, sign off on, and adhere to the following

policies:

Break Policy 5.05

Lunches and Breaks

¢ Less than 4 hours = no break,

# 8 hours but less than 12 = two 15 min. breaks***

® 8 hours, but less than 12 hours = One 30 minute unpaid lunch
***7p order to maintain quality customer service standards, break periods may only be taken ifthere is adequate .
staffing to provide continuity of service, The nature of our business is such that there are ample naturally eveurring
breaks thronghout the day due to patient flow that should allow each employes sufficient time to “break” from their
daily activities. During these downtimes employees may not leave the job site, Our goal is not to impact or delay
ratient care.

Attendance Poliep 5.02
Signing in and out, email upor arrival:
@ Time in and Time out:
eo Timein .
4 Scheduled start time
«= Location

oe Time out
a Scheduled end time

» Location
e Failure to email your arrival and departure is a full sceurrence. Please make sure that you follow this
guideline at all times. There are no exceptions,

e If the computer is down, you must call from a landline not your cell phone to report your start time and
location. :

Any email sent must be sent under your User Name and an HFML PC. Checking in and out cannot be
performed on a personal cell phone or an HFML business phone. Doing so is a violation of the attendance
policy and will result in termination. Emailing your time in using any other username is a Group 2 violation
and will result in immediate termination for both employees.

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Case 2:14-cv-11916-GCS-SDD ECF No. 76-3, PagelD.2433 Filed 03/24/16 Page 3 of 4

i if Pathology & Laboratory Medicine

Social Media Policy 5,29

Enail etiquette:

* Do not share username or passwords with any fellow employee,
Ernail must be checked daily,
All emails must be responded to in a timely manner (samo day)
Checking email at the start of your day, midday and at the end of your day is a requirement of the job.
Internet use-AN Y¥ usage that is NOT related to HEML is PROHIBITED. Allowed sites: Atlas, NPI registry,
HFH University, HR connect, eLUG, ICD9 code search and Physician search, Our systems are continuously
monitored for yauthorized use, Many systems have crashed due to activity to unauthorized sites, Any
unauthorized use will result in termination.

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Code of Conduct/Duty to Report:

¢ Never leave a site at any time without prior authorization from a manager.

* Should a fellow employee leave the job site ‘without proper authorization,
that we may staff site accordingly.

* Report anything to an authority that is against company guidelines and may require intervention from

management. .

contact a manager immediately so

Specimen Labeling and Drawing Guidelines: Patient Safety Standards
° Highlight test on ‘written order from physician’ to ensure nothing is missed, Please follow the highlighting
process in your FYI book.

Never stick a patient without verifying their name and DOB

Always put Last Name, First Name and DOB on specimen.

Always confirm an unclear order before drawing the patient.

Utilize resources to clarify any part of an unclear requisition (LUG, Client Service, Su
All orders must be double checked before drawing the patient

Initial requisition when you draw the patient on top right comer of Rx.

Initial the tube of any patient that has been drawn by you.
Be sure to match up tubes drawn with the name on the Rx that you ate putting in the bag with the tubes.

ALWAYS follow protocol, Patient care requires continuity of care. Always ask the patient first and last name
and date of birth. This practice does not change based on personal relationship with the patient or change

based on the number of tires you have drawn the patient.
The manvai specimen manifest must include the patients name next to ANY specimen that is frozen or

refrigerated. The patient names should also be included with 24 hour urine.

pervisor, Co-Worker),

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Case 2:14-cv-11916-GCS-SDD ECF No. 76-3, PagelD.2434 Filed 03/24/16 Page 4 of 4

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7 -
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- cell Phone Policy-Phone Etiquettes

« Company phone is to be used only § i i i
throughout the day ant any oe mi use only, Voice mails should be checked promptly,

¢ The cellular phone should be on an i ; : ; : i
Sam-8pm, Monday through Sate oy ble during the enilrety of your shift, and during all business hours

¢ Personal cell phones should hot be used duri i
tal ¢ uring wark .
and using is your HFML, Phone fuily charged, » eRe eu Th oly phone thet you shawl have on _
eee k answer your phone when you are with a patient or leave the patient unattended.
ea ave any issues with your HEML phone You must contact the helpdesk at 248-853-4900 immediately.
¢ HEML phone is used by many departments to get a hold of you regarding patients,

Treatment-of co-workers: .

* Offer help to fellow co-workers whenever possible. Treat co-workers with honesty, respect, courtesy, and
work together as a team.

Do not participate in gossip,

Do not share pay scale information.

Respect the diversity of any team member,

Welcome and support new employees and help them become part of the team.

Name (printed): j @. Manager: - Lio

Signature; Aone Signature:

Date “0 // G [2.0/3 Date: _ /8°/F- 1B

IV. References
N/A

V. Supporting Documents
N/A

VI. Attachments
N/A

HFHS3
